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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 1:24-cv-20056-JB

 BRANDON M. EVANS,

        Plaintiff,
v.

 EVOLUTION FINANCE, INC.,

        Defendant.
                                       /

                                  NOTICE OF SETTLEMENT

        Plaintiff, Brandon M. Evans (“Plaintiff”), by counsel, hereby notifies the Court that the

 parties have reached a settlement of all claims and are in the process of finalizing the settlement

 documents so that a stipulation of dismissal may be filed.


 Dated: March 14, 2024.                       Respectfully submitted,

                                              /s/ Seth M. Lehrman
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                                              Telephone: 404-855-3600

                                              Counsel for Plaintiff
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 14, 2024, I electronically filed the foregoing with the

Clerk of the Court, using the CM/ECF system which will send a notice of electronic filing to all

counsel of record.


                                                   /s/ Seth M. Lehrman
                                                   Seth M. Lehrman




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